Case 1:01-cv-12257-PBS Document 6791-5 Filed 12/21/09 Page 1 of 20




                              Exhibit 4
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
              Case 1:01-cv-12257-PBS Document 6791-5 Filed 12/21/09 Page 2 of 20
CA Dept of Health Care Services (Stanley L Rosenstein)                           November 6, 2008
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                                                                                      Page 1
                    UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF MASSACHUSETTS

                    --oOo--

       STATE OF CALIFORNIA, ex rel

       VEN-A-CARE OF THE FLORIDA KEYS, INC.,

       A Florida Corporation,

                         Plaintiffs,

                     vs.                       MDL No. 1456

                                               Master File No.

                                               01-12257-PBS

       ABBOTT LABORATORIES,INC.,               Civil Action No.

       Et al.,                                 03-11226-PBS

                         Defendants.

       ____________________________/

                                       --oOo--

                           THURSDAY, NOVEMBER 6, 2008

                                       --oOo--

          VIDEOTAPE DEPOSITION OF THE CALIFORNIA DEPARTMENT

          OF HEALTH CARE SERVICES BY STANLEY L. ROSENSTEIN

                                       --oOo--

       Reported By:      PATRICIA MCCARTHY, CSR No. 12888

                         Registered Professional Reporter




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              Case 1:01-cv-12257-PBS Document 6791-5 Filed 12/21/09 Page 3 of 20
CA Dept of Health Care Services (Stanley L Rosenstein)                           November 6, 2008
                                          Sacramento, CA

                                                                                    Page 98
   1
           worked to write size the program, we eliminated
   2
           the 50 cents, we eliminated those other things
   3
           and we sent, yeah, a different dispensing fee,
   4
           and a different ingredient cost.                         So it is a
   5
           fairly complicated transaction when you really
   6
           get down to solving the issue.
   7
                     Q.        Okay.         And I appreciate, there are a
   8
           lot of, like dispensing fee, right, there are a
   9
           lot of moving parts that have to be balanced.
 10
           But I guess -- but what I am trying to get at is,
 11
           did -- did DHS communicate in 1996 to the
 12
           California Legislature an effort to reduce
 13
           reimbursement rates that AWP minus 5 didn't
 14
           reflect actual purchasing activity by California
 15
           pharmacists?
 16
                               MR. PAUL:             Objection to form.
 17
                               THE WITNESS:              I am not sure in 1996
 18
           where we did.                 We proposed additional
 19
           reimbursement reductions in pharmacies, coming
 20
           off of an AWP minus greater amount.
 21
           BY MR. BUEKER:
 22
                     Q.        And as a part of -- as a part of

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              Case 1:01-cv-12257-PBS Document 6791-5 Filed 12/21/09 Page 4 of 20
CA Dept of Health Care Services (Stanley L Rosenstein)                             November 6, 2008
                                          Sacramento, CA

                                                                                      Page 99
   1
           justifying that reduction, one of the things that
   2
           DHS would have communicated to the California
   3
           Legislature was that the AWP minus 5 didn't
   4
           reflect actual purchasing activity by California
   5
           pharmacists, correct?
   6
                     A.        Typically, my testimony when I did it
   7
           was, that we were trying to get to honest
   8
           pricing, that we accurately represented the cost
   9
           of purchasing, and the cost of dispensing.                                  The
 10
           key was to have accurate pricing that had
 11
           transparency, that everybody could see and agree
 12
           to.       So when I did the testimony on this, it
 13
           really came from the perspective of we need to
 14
           have a good honest price.
 15
                     Q.        Okay.         And I am trying to -- I
 16
           understand that.                    What I am trying to understand
 17
           is, whether it was ever communicated to the
 18
           California Legislature that AWP minus 5 didn't
 19
           reflect the price at which pharmacists in
 20
           California were actually purchasing
 21
           pharmaceutical product?
 22
                               MR. PAUL:             Objection.    Form.

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              Case 1:01-cv-12257-PBS Document 6791-5 Filed 12/21/09 Page 5 of 20
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                                          Sacramento, CA

                                                                                  Page 100
   1
                               THE WITNESS:              I believe the
   2
           communication was that that was an excessive
   3
           reimbursement, so that we could pay at a higher -
   4
           - or lower price, higher AWP.
   5
           BY MR. BUEKER:
   6
                     Q.        Higher discount of AWP?
   7
                     A.        Higher discount and maintain access to
   8
           care.
   9
                     Q.        Let us mark an audit report, California
 10
           Medi-Cal program dated March 19, 1996 as
 11
           Rosenstein 30(b)(6) Exhibit Number 6, please.
 12
                                         (Exhibit Rosenstein 006 Was Marked
 13
           For Identification.)
 14
           BY MR. BUEKER:
 15
                     Q.        You can, Mr. Rosenstein, take whatever
 16
           time you need to familiarize yourself with
 17
           Exhibit 6, but I will tell you that I'm going to
 18
           keep my questions fairly general.
 19
                     A.        You will focus on the pharmacy part of
 20
           the audit?
 21
                     Q.        Well, no, I'm actually going to just --
 22
           I have some process questions.

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              Case 1:01-cv-12257-PBS Document 6791-5 Filed 12/21/09 Page 6 of 20
CA Dept of Health Care Services (Stanley L Rosenstein)                           November 6, 2008
                                          Sacramento, CA

                                                                                  Page 296
   1
           price, which we have yet to be able to get to on
   2
           these drugs.                And that, you know, ought not to be
   3
           this difficult to get to an accurate price.
   4
                               MR. BANK:             One second.    I think I am
   5
           done with the questioning.
   6
                               MR. PAUL:             Can I trade seats with you.
   7
                               MR. BANK:             Sure.
   8
                               MR. PAUL:             Please mark this as 38.
   9
                                         (Exhibit Rosenstein 038 Was Marked
 10
           For Identification.)
 11

 12
                                         EXAMINATION
 13
           BY MR. PAUL:
 14
                     Q.        Mr. Rosenstein, I have marked as
 15
           Rosenstein Exhibit 38 a document that reads --
 16
           it's a West's version of California Welfare and
 17
           Institutions Code, Section 14105.45, 2004 to
 18
           2007.
 19
                               I will represent to you that this is
 20
           taken from the online West Law Database, printing
 21
           out or reporting the statute.                        That statute, as I
 22
           just read it, which was in effect from September

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              Case 1:01-cv-12257-PBS Document 6791-5 Filed 12/21/09 Page 7 of 20
CA Dept of Health Care Services (Stanley L Rosenstein)                            November 6, 2008
                                          Sacramento, CA

                                                                                   Page 297
   1
           2004, I believe, until August 2007.
   2
                               MR. BUEKER:               Objection as to form.
   3
           BY MR. PAUL:
   4
                     Q.        I would like to direct your attention
   5
           to a couple of provisions of this statute.                                 If
   6
           you turn to the third page by the number 12 in
   7
           brackets, if you follow along with me, "Selling
   8
           price means the price used in the establishment
   9
           of the estimated acquisition cost.                          The
 10
           department shall base the selling price on the
 11
           average sales price reported by manufacturers
 12
           pursuant to subdivision C.                         Selling price shall
 13
           not be considered confidential and shall be
 14
           subject to disclosure under the California Public
 15
           Records Act."
 16
                               Did I read that correctly?
 17
                     A.        Yes.
 18
                     Q.        And below that in parens, capital
 19
           letter A, this would be the second paragraph up
 20
           in the bottom, "For single source and innovator
 21
           multiple source drugs, the estimated acquisition
 22
           cost shall be equal to the lowest of the average

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              Case 1:01-cv-12257-PBS Document 6791-5 Filed 12/21/09 Page 8 of 20
CA Dept of Health Care Services (Stanley L Rosenstein)                            November 6, 2008
                                          Sacramento, CA

                                                                                   Page 298
   1
           wholesale price minus 17 percent, the selling
   2
           price, the federal upper limit, or the MAIC."
   3
                               Did I read that correctly?
   4
                     A.        That's correct.
   5
                     Q.        And if you turn to the next page, third
   6
           paragraph up from the bottom, enumerated
   7
           paragraph small C1, "Manufacturers and principal
   8
           labelers of legend and nonlegend drugs no later
   9
           than 30 days after the end of each calendar
 10
           quarter, and in a format determined by the
 11
           department, provide to the department the average
 12
           sales price of each of the manufacturer's legend
 13
           and nonlegend drug."
 14
                               Did I read that correctly?
 15
                               MR. BUEKER:               Objection as to form.
 16
                               THE WITNESS:               That's correct.
 17
           BY MR. PAUL:
 18
                     Q.        To your knowledge, did the department
 19
           receive any cooperation from manufacturers with
 20
           respect to the statutory provision I just read?
 21
                               MR. BUEKER:               Objection to form and
 22
           beyond the scope.

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CA Dept of Health Care Services (Stanley L Rosenstein)                           November 6, 2008
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                                                                                  Page 299
   1
                               THE WITNESS:              We did not.   We sought to
   2
           create an average sale price to address our
   3
           concerns to get an accurate price for generic
   4
           drugs that would be used in conjunction with
   5
           other pricing and we were unable to get the
   6
           information from the drug manufacturers to
   7
           implement the statute.
   8
           BY MR. PAUL:
   9
                     Q.        And none of the four manufacturers who
 10
           are represented by counsel at this table ever
 11
           cooperated with that; is that correct?
 12
                     A.        We had, to my understanding,
 13
           cooperation from no drug manufacturers in the
 14
           implementation of this statute.
 15
                     Q.        Now, you know what, AWP stands for
 16
           average wholesale price; is that correct?
 17
                     A.        That's correct.
 18
                     Q.        And to your knowledge, there is AWP in
 19
           effect for each drug in the Medi-Cal program?
 20
                     A.        Yes, there is.
 21
                     Q.        And who determines what the value of
 22
           AWP is?

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             Case 1:01-cv-12257-PBS Document 6791-5 Filed 12/21/09 Page 10 of 20
CA Dept of Health Care Services (Stanley L Rosenstein)                            November 6, 2008
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                                                                                   Page 301
   1
           is First Data Bank get AWP information?
   2
                               MR. BUEKER:               Objection.    Lack of
   3
           foundation.
   4
                               THE WITNESS:               From the manufacturers'
   5
           report at First Data Bank.
   6
           BY MR. PAUL:
   7
                     Q.        And does California have the means to
   8
           police the accuracy of those AWPs?
   9
                               MR. BUEKER:               Objection.    Lack of
 10
           foundation and form.
 11
                               THE WITNESS:               We do not.    It would take
 12
           an enormous amount of staff and those change
 13
           every month.
 14
           BY MR. PAUL:
 15
                     Q.        And to your knowledge, is it the intent
 16
           of the Medi-Cal program that manufacturers report
 17
           AWPs as an accurate measure of average wholesale
 18
           prices?
 19
                               MR. BUEKER:               Objection.    Form.
 20
                               THE WITNESS:               Absolutely.    We depend
 21
           upon the accuracy and the integrity of everybody
 22
           who participates in the program.                           It is a

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CA Dept of Health Care Services (Stanley L Rosenstein)                           November 6, 2008
                                          Sacramento, CA

                                                                                  Page 302
   1
           humongous revised program with a relatively small
   2
           staff.
   3
                               In all aspects of it, it depends upon
   4
           the people who provide the government, the state,
   5
           the federal government with data they do
   6
           accurately.
   7
           BY MR. PAUL:
   8
                     Q.        With regard to generic manufacturers,
   9
           has any generic manufacturer, to your knowledge,
 10
           ever come to the Medi-Cal program and provided
 11
           information to explain to the program the
 12
           difference between actual provider costs and its
 13
           reported AWPs for any of its drugs?
 14
                     A.        Not in the 13 years that I have been a
 15
           part of running the Medi-Cal program.
 16
                     Q.        So that statement would apply to the
 17
           four defendants who are represented by counsel at
 18
           this table?
 19
                     A.        That's right.             No one has come to my
 20
           office and told us that.                        And we have other
 21
           providers who have come to us and disclosed, you
 22
           know, inaccurate claiming over the past.                             It does

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CA Dept of Health Care Services (Stanley L Rosenstein)                           November 6, 2008
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                                                                                  Page 303
   1
           happen, but none of the drug manufacturers have
   2
           come to me and made that disclosure.
   3
                     Q.        I think you were showed earlier in the
   4
           day an exhibit.                   I think it was Exhibit 5, a 1996
   5
           report by the OIG concerning its examination of
   6
           the discrepancy between AWPs and acquisition
   7
           costs for generic and branded drugs.
   8
                               Do you recall that?
   9
                     A.        Yes.
 10
                     Q.        To your knowledge, did any manufacturer
 11
           come to the Medi-Cal program after the OIG issued
 12
           that report to offer help in reforming its
 13
           reporting of AWPs?
 14
                     A.        No.
 15
                     Q.        Did any manufacturer come to the
 16
           program expressing any concern about the
 17
           implications of that report to your knowledge?
 18
                     A.        Not to my knowledge, and never to me.
 19
                     Q.        If manufacturers AWPs had been reported
 20
           by the manufacturers owning those AWPs as actual
 21
           and accurate measures of their -- of the average
 22
           wholesale prices of those drugs, would that have

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CA Dept of Health Care Services (Stanley L Rosenstein)                            November 6, 2008
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                                                                                   Page 304
   1
           affected Medi-Cal's efforts to contain its drug
   2
           reimbursement costs?
   3
                               MR. BUEKER:               Objection as to form.
   4
                               THE WITNESS:               Yes.   We have been
   5
           spending -- we spent all day talking about the
   6
           effort we've had to get accurate pricing.                               Had we
   7
           started with accurate pricing, we wouldn't have
   8
           had to go through all of these changes, and we
   9
           would have had an accurate reimbursement system
 10
           in the Medi-Cal program.                         That would have saved
 11
           the taxpayers hundreds of millions of dollars.
 12
           BY MR. PAUL:
 13
                     Q.        If manufacturers had reported their
 14
           AWPs truthfully to the state, and by truthfully,
 15
           I mean, as an accurate measure of actual average
 16
           wholesale prices, would that have negated the
 17
           need for a MAC program?
 18
                               MR. BUEKER:               Objection as to form.
 19
                               THE WITNESS:               Yes.   We would pay, have
 20
           the ability to pay pharmacies accurately.                               We
 21
           wouldn't have to come up with a secondary method
 22
           to get to honest data.

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             Case 1:01-cv-12257-PBS Document 6791-5 Filed 12/21/09 Page 14 of 20
CA Dept of Health Care Services (Stanley L Rosenstein)                            November 6, 2008
                                          Sacramento, CA

                                                                                   Page 308
   1
           BY MR. PAUL:
   2
                     Q.        So to your knowledge, no drug
   3
           manufacturer, and in particular, no generic drug
   4
           manufacturer made any effort to come to the
   5
           California Legislature and explain that actual
   6
           provider cost are value A and our AWPs are value
   7
           B, and here is the difference between them?
   8
                     A.        I am not aware of it.                Generally, we
   9
           hear a lot of activity from the legislative
 10
           staff, have contacts.                         I am not aware of anybody
 11
           ever having that contact.
 12
                     Q.        Did you ever hear of any staffer or
 13
           legislator in either the Senate or the Assembly
 14
           state an acceptance of inflated AWPs or
 15
           acceptance of reimbursement from the Medi-Cal
 16
           program of pharmacy drugs based on inflated or
 17
           untruthful AWPs?
 18
                               MR. BUEKER:               Objection as to form.
 19
                               MR. CYR:            Objection.
 20
                               THE WITNESS:               No, I do not.   In fact, I
 21
           have heard it quite the opposite of strong
 22
           objection to the government getting false

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                                          Sacramento, CA

                                                                                   Page 309
   1
           information.
   2
           BY MR. PAUL:
   3
                     Q.        In your years as chief deputy director
   4
           for the Medi-Cal program and your 13 years as
   5
           deputy director or chief deputy director and your
   6
           30-some years experience with the Medi-Cal
   7
           program in general, do you believe that drug
   8
           manufacturers have an obligation to be truthful
   9
           in all due respects when they report any kind of
 10
           information to the Medi-Cal program on which the
 11
           program relies for reimbursement?
 12
                               MR. BUEKER:               Objection as to form and
 13
           beyond the scope.
 14
                               THE WITNESS:               Very much so.   You know,
 15
           it is an underlying law and assumption that
 16
           people, when they interact with the government,
 17
           are going to tell the truth and provide accurate
 18
           information.                The entire Medi-Cal program relies
 19
           upon the honesty of people who participate in
 20
           that program.
 21
           BY MR. PAUL:
 22
                     Q.        Has any representative of any generic

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             Case 1:01-cv-12257-PBS Document 6791-5 Filed 12/21/09 Page 16 of 20
CA Dept of Health Care Services (Stanley L Rosenstein)                            November 6, 2008
                                          Sacramento, CA

                                                                                   Page 310
   1
           drug manufacturer ever told you that they believe
   2
           they do not have an obligation to be truthful in
   3
           the information that they report to the program?
   4
                     A.        No.
   5
                     Q.        Or accurate?
   6
                     A.        Nobody has ever told me that.                   And had
   7
           they, I would have taken very strong swift action
   8
           in telling them that that was unacceptable.                                  They
   9
           did have the obligation, but nobody ever
 10
           approached me and said that.
 11
                     Q.        Do you believe that the Medi-Cal
 12
           program has been defrauded by manufacturers who
 13
           have reported inflated AWPs knowingly to the
 14
           program?
 15
                               MR. BUEKER:               Objection as to form.
 16
           Calls for a legal conclusion.
 17
           BY MR. PAUL:
 18
                     Q.        Do you believe the program has been
 19
           cheated?
 20
                               MR. BUEKER:               Objection as to form.
 21
                               THE WITNESS:               Yeah, I believe we have
 22
           been.         I believe the taxpayers have had to pay

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             Case 1:01-cv-12257-PBS Document 6791-5 Filed 12/21/09 Page 17 of 20
CA Dept of Health Care Services (Stanley L Rosenstein)                            November 6, 2008
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                                                                                   Page 311
   1
           excessive amounts of money because of incorrectly
   2
           reported and incorrectly reported AWPs.
   3
           BY MR. PAUL:
   4
                     Q.        Earlier in your testimony in response
   5
           to questions from counsel for Warrick, I think
   6
           you mentioned at one point that Dr. Grossby
   7
           conducted some interviews or participated in
   8
           interviews with the participating pharmacies
   9
           sometimes around 2004.
 10
                               And I think you used the phrase, "This
 11
           was a resource intensive effort on the part of
 12
           Dr. Grossby and his pharmacists"; is that
 13
           correct?
 14
                     A.        That's correct.
 15
                     Q.        And would you agree that had the
 16
           generic drug manufacturers accurately reported
 17
           their AWPs as actual average wholesale prices
 18
           that that resource intensive effort would not
 19
           have had to take place?
 20
                               MR. BUEKER:               Objection as to form.
 21
                               THE WITNESS:               We would have saved
 22
           hundreds of hours of our pharmacist's time that

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             Case 1:01-cv-12257-PBS Document 6791-5 Filed 12/21/09 Page 18 of 20
CA Dept of Health Care Services (Stanley L Rosenstein)                            November 6, 2008
                                          Sacramento, CA

                                                                                   Page 312
   1
           both that effort which took weeks and throughout
   2
           this whole process, time that he could have
   3
           better been spent on other ways to improve the
   4
           Medi-Cal program.
   5
           BY MR. PAUL:
   6
                     Q.        Do you believe that if generic drug
   7
           manufacturers had reported truthful average
   8
           wholesale prices, by truthful, I mean, accurate
   9
           measures of average wholesale prices to Medi-Cal
 10
           that there wouldn't have been a need for the
 11
           Myers & Stauffer studies?
 12
                               MR. BUEKER:               Objection as to form.
 13
                               THE WITNESS:               It would have been a
 14
           necessary study, but it would have more focused
 15
           on what was the appropriate cost of dispensing.
 16
           We wouldn't have spent as much time on what the
 17
           ingredient cost was, but we needed the study to
 18
           understand what the appropriate cost of pharmacy
 19
           dispensing was.
 20
           BY MR PAUL:
 21
                     Q.        Do you happen to have an understanding
 22
           of the cost of the Myers & Stauffer cost study?

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             Case 1:01-cv-12257-PBS Document 6791-5 Filed 12/21/09 Page 19 of 20
CA Dept of Health Care Services (Stanley L Rosenstein)                            November 6, 2008
                                          Sacramento, CA

                                                                                   Page 313
   1
                               MR. BUEKER:               Objection as to form.
   2
           Beyond the scope.
   3
                               THE WITNESS:               I believe each study was
   4
           in the neighborhood of 200- to $250,000.
   5
           BY MR. PAUL:
   6
                     Q.        And those monies came from public fund,
   7
           from the Medi-Cal program?
   8
                     A.        They came from the state and federal
   9
           government.
 10
                     Q.        Just to be clear, I want to confirm
 11
           with you whether or not, has it ever been the
 12
           policy of the Medi-Cal program to deliberately
 13
           accept inflated and inaccurate AWPs simply
 14
           because the program knew it would offset them by
 15
           shorting or minimizing the amount of the filling
 16
           fee for pharmacists?
 17
                               MR. BUEKER:               Objection as to form.
 18
                               MR. CYR:            Objection.
 19
                               THE WITNESS:               No.   It has always been
 20
           our policy to have accurate information and to
 21
           use that information to establish what the
 22
           accurate price should be, should be on both ends

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             Case 1:01-cv-12257-PBS Document 6791-5 Filed 12/21/09 Page 20 of 20
CA Dept of Health Care Services (Stanley L Rosenstein)                            November 6, 2008
                                          Sacramento, CA

                                                                                   Page 314
   1
           of the equation.                    We do believe they need to be
   2
           both looked at, but they have got to come from
   3
           accurate data sources.
   4
           BY MR. PAUL:
   5
                     Q.        And are you aware, based on your
   6
           experience, that actually under federal law, it
   7
           is unlawful to offset ingredient cost payments
   8
           with a filling fee?
   9
                               MR. BUEKER:               Objection as to form and
 10
           lack of foundation.                       Calls for a legal
 11
           conclusion.
 12
                               MR. CYR:            Objection.
 13
                               THE WITNESS:               No, I am not aware of
 14
           that provision.
 15
           BY MR. PAUL:
 16
                     Q.        Based on your 13 years as deputy
 17
           director and chief deputy director and your 30
 18
           years in the program, can you state whether it
 19
           was or was not ever the policy of the Medi-Cal
 20
           program to deliberately accept the reporting by
 21
           drug manufacturers of inflated AWPs simply
 22
           because the program knew it would offset that

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